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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


CHRISTIAN SANDVIG,
et al.,

              Plaintiffs,
                                              Case No. 1:16-cv-1368 (JDB)
      v.

JEFFERSON B. SESSIONS, III, in his official
capacity as Attorney General of the United
States,

              Defendant.




    DEFENDANT’S MEMORANDUM SEEKING TO COMPEL PLAINTIFFS TO
          RESPOND TO INTERROGATORY NUMBERS 3, 5, AND 6
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        Pursuant to the Court’s Minute Order of October 25, 2018, see ECF No. 37, Defendant

respectfully requests that the Court compel Plaintiffs to provide complete responses to Interrogatory

Nos. 3, 5, and 6, for the reasons sets forth herein as well as in the attached letters.1

        These three Interrogatories collectively seek information related to websites’ restrictions on

access that Plaintiffs have circumvented, or intend to circumvent, in connection with their academic

research, as well as the steps Plaintiffs have taken or will take to minimize any harms caused by their

research. See Def.’s Interrogs. (Exh. 1) at 4-5. Plaintiffs have refused to provide complete responses

for two reasons: first, they assert that restrictions on access unrelated to the creation of false accounts

are irrelevant; and second, they assert that information related to their past research is protected by

their Fifth Amendment privilege against self-incrimination. These objections are meritless.

                                                Argument

        As a general rule, once a party demonstrates that information is discoverable, “[t]he burden

then shifts to the non-moving party to explain why discovery should not be permitted.” Felder v.

WMATA, 153 F. Supp. 3d 221, 224 (D.D.C. 2015). Additionally, the burden for invoking a privilege

rests with the withholding party. Id. Here, the requested information is not only relevant but is critical,

and any applicable privilege has been waived. Thus, Plaintiffs should be compelled to provide

complete responses to Interrogatories Nos. 3, 5, and 6.

I.      Restrictions on Access Unrelated to Creation of False Accounts

        Plaintiffs have objected on relevance and overbreadth grounds to providing information about

the restrictions on access that they have circumvented, or will circumvent, in connection with their

research, except as to Terms of Service (ToS) prohibiting the creation of fictitious user accounts


        1
          See Def.’s Interrogs. Nos. 3, 5, 6 (Exh. 1); Pls.’ 2d Suppl. Resp. to Def.’s Interrogs. (Exh. 2);
Def.’s 1st Ltr. of Sept. 11, 2018 (Exh. 3); Pls.’ 1st Ltr. of Sept. 14, 2018 (Exh. 4); Def.’s 2d Ltr. of
Oct. 15, 2018 (Exh. 5); Pls.’ 2d Ltr. of Oct. 17, 2018 (Exh. 6). The first four exhibits have been
redacted to eliminate irrelevant sections; Exhibit 2 has also been redacted consistent with the
protective order entered in this case. See ECF No. 34.


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and/or providing false information. By refusing to provide information about other restrictions on

access, however, Plaintiffs have deprived Defendant of information necessary to litigate this case.

        Plaintiffs are certainly correct that the scope of their claim is now limited to ToS prohibiting

the creation of false accounts and/or providing false information. See Pls.’ 1st Ltr (Exh. 4) at 1-2; Pls.’

2d Ltr. (Exh. 6) at 2. The scope of Plaintiffs’ claim, however, does not define the full universe of

relevant information.     Here, Defendant’s requested information—i.e., about the full range of

restrictions on access that Plaintiffs intend to circumvent—is relevant for at least three reasons.

        First, such information is necessary for determining the appropriate First Amendment

standard of review, at least under the framework articulated by the Court in its motion-to-dismiss

opinion. There, the Court held that “placing contractual conditions on accounts that anyone can

create . . . does not remove a website from the First Amendment protections of the public Internet,”

but that “code-based restrictions . . . remove those protected portions of a site from the public

forum.” ECF No. 24 at 11. Thus, if Plaintiffs’ contemplated research involved circumventing code-

based restrictions on a website, that would change the First Amendment analysis—i.e., the website

would no longer be considered a “public forum” for First Amendment purposes. In order to

determine the correct First Amendment framework, therefore, Plaintiffs must disclose the full range

of restrictions on access they intend to circumvent. See Def.’s 2d Ltr. (Exh. 5) at 3.

        Second, such information is also relevant to evaluating redressability. Even assuming Plaintiffs

have adequately established a genuine fear of prosecution under the Computer Fraud and Abuse Act

(CFAA), if Plaintiffs are violating the CFAA in multiple ways—e.g., not only by creating false accounts,

but also circumventing code-based restrictions—then an injunction preventing prosecution as to only

one theory of liability (creating false accounts) may not actually redress Plaintiffs’ purported injury,

because they would remain subject to prosecution for their other actions (circumventing code-based

restrictions).   Thus, knowing the full range of Plaintiffs’ actions is critical to evaluating the



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redressability of their alleged injury. See Def.’s 2d Ltr. (Exh. 5) at 2-3.

        Third, Plaintiffs have alleged that their research will not cause any harm. See Compl. (ECF

No. 1) ¶ 4; see also MTD Op. (ECF No. 24) at 37-38. In order to test that allegation, Defendant is

entitled to know the full range of access restrictions that Plaintiffs have circumvented or will

circumvent in connection with their research. See Def.’s 2d Ltr. (Exh. 5) at 3.

        In response, Plaintiffs have offered a stipulation “that Plaintiffs have received no

communication from the federal government expressing any possibility of prosecution based on past

ToS violations[.]” Pls.’ 2d Ltr. (Exh. 6) at 2. That stipulation eliminates (in part) a fourth reason why

the requested information would be relevant—i.e., evaluating whether Plaintiffs do, in fact, face a

genuine threat of prosecution based on their ToS violations. See Def.’s 1st Ltr. (Exh. 3) at 3; Def.’s 2d

Ltr. (Exh. 5) at 2.2 But that stipulation does not provide Defendant with any of the necessary

information regarding the three areas of inquiry identified above.

        Given the importance of this information to both Defendant’s and the Court’s ability to

evaluate Plaintiffs’ claim, the Court should overrule Plaintiffs’ relevance and overbreadth objections

and compel Plaintiffs to provide complete responses to Interrogatory Nos. 3, 5, and 6.

II.     Fifth Amendment Privilege Against Self-Incrimination

        Plaintiffs have likewise invoked their Fifth Amendment privilege against self-incrimination in

connection with their past research and Interrogatory Nos. 3, 5, and 6. See Pls.’ 2d Ltr. (Exh. 6) at 2-

3. This objection should also be overruled.

        Most fundamentally, Plaintiffs have waived their Fifth Amendment privilege by voluntarily

testifying about the subjects covered by Interrogatory Nos. 3, 5, and 6. See Def.’s 2d Ltr. (Exh. 5) at 4

(explaining how in response to each Interrogatory Plaintiffs have either described their past research


        2
         Knowing the full range of restrictions on access would still be relevant to injury-in-fact
because it would help Defendant evaluate whether a user’s access to a website is in fact restricted by
the website’s ToS (as opposed to just being subject to termination if the user violates the ToS).


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activities or incorporated the discussion of those activities from their published papers); see also Pls.’

2d Suppl. Resps. (Exh. 2) at 4-6; CHI 2018 Paper (Exh. 7) at PID0004-0006; CSCW 2017 Paper

(Exh. 8) at PID0023-0025. It is well-settled that a witness cannot “testify voluntarily about a subject

and then invoke the privilege against self-incrimination when questioned about the details,” Mitchell v.

United States, 526 U.S. 314, 321 (1999), and this rule applies even at the discovery phase. See United

States v. All Assets Held at Bank Julius Baer & Co., Ltd., 312 F.R.D. 16, 21 (D.D.C. 2015) (Harvey, M.J.).

        Even if Plaintiffs could properly invoke the privilege, moreover, the appropriate result would

then be sanctions against Plaintiffs given the civil nature of this case. See Def.’s 2d Ltr. (Exh. 5) at 4-

5. The requested information is necessary to Defendant’s ability to prepare its defense for many of

the same reasons discussed above. Thus, sanctions ranging from an adverse inference on each of the

above topics, up to and including dismissal of Plaintiffs’ claims, would be appropriate. See, e.g., Latif

v. Obama, 666 F.3d 746, 758-59 (D.C. Cir. 2011); Serafino v. Hasbro, Inc., 82 F.3d 515, 519 (1st Cir. 1996).3

        Plaintiffs’ response on this issue is to emphasize that they are asserting the Fifth Amendment

privilege only as to their past conduct, not future research. See Pls.’ 1st Ltr. (Exh. 4) at 2-3. But

relevance of the requested information is not part of the waiver analysis, and in any event their past

conduct is indeed relevant. For one thing, that past conduct is still at issue because presumably the

prospective relief Plaintiffs seek would prevent prosecution as to that past conduct as well. Indeed,

Plaintiffs have made clear that they intend to rely on their past conduct to support their claims. See

Def.’s 2d Ltr. (Exh. 5) at 4. At a minimum, understanding how Plaintiffs conducted their past research

provides helpful context for understanding how Plaintiffs will conduct their future research, and thus

the information is discoverable and important to resolution of Plaintiffs’ as-applied claim.

        The Court should thus compel Plaintiffs to provide complete responses to the Interrogatories.



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          Should the Court uphold Plaintiffs’ invocation of the privilege, Defendant respectfully
requests the opportunity to submit further briefing on the appropriate sanction.


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Dated: October 25, 2018                     Respectfully Submitted,

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